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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

VIRGINIA JUNEAU,

       Plaintiff,

v.                                                     Case No: 8:14-cv-1907-T-35TGW

GENESIS BANKCARD SERVICES, INC.,

       Defendant.
                                         /

              ORDER DIRECTING ADMINISTRATIVE CLOSURE
      On January 27, 2015, the Parties filed a Notice of Pending Settlement, informing

the Court that the Parties have reached a verbal settlement. (Dkt. 13) Therefore it is

hereby

      ORDERED that this case be administratively closed pending receipt of a final

stipulation of dismissal within sixty (60) calendar days from the date of this Order. If no

stipulation is received, and no request for extension of time is filed, the Clerk of Court

shall dismiss the case with prejudice with no further order. The Clerk is directed to

terminate any pending motions in this case.

      DONE and ORDERED in Tampa, Florida, this 30th day of January, 2015.




Copies furnished to:

Counsel of Record
Any pro se party
